73 F.3d 356NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Richard E. CAREW, Jr., Plaintiff--Appellant,v.Delmac ALLEN, a Duke University Medical Center employee;Jennifer Crossland, a Duke University MedicalCenter employee;  Duke UniversityMedical Center, Defendants--Appellees.
    No. 95-1982.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 14, 1995.Decided Dec. 26, 1995.
    
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing this action for lack of subject matter jurisdiction.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Carew v. Allen, No. CA-94-920-5-BO (E.D.N.C. Apr. 20, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    